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                    UNITED STATES DISTRICT COURT
          FOR THE Northern District of Illinois − CM/ECF NextGen 1.7.1.1
                               Eastern Division

Matthew Daly
                                        Plaintiff,
v.                                                      Case No.: 1:21−cv−06805
                                                        Honorable John Robert Blakey
West Monroe Partners, Inc., et al.
                                        Defendant.



                        NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Wednesday, June 26, 2024:


       MINUTE entry before the Honorable John Robert Blakey: The Court grants
Defendants' motion for leave to file a two−page sur−reply [199] and strikes the 6/26/24
Notice of Motion date. The Court also grants Defendant's motion for leave to withdraw
the appearance of Brenton Vincent [201] and directs the Clerk to remove Attorney
Vincent's name from the docket in this case. Mailed notice(gel, )




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